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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                                           ORDER
       Upon consideration of Defendant’s Motion In Limine On Presenting Indictment To The

Jury, it is this ________ day of ___________, 2022:

       ORDERED that Defendant’s Motion is GRANTED.

       SO ORDERED.



                                                      ___________________________________
                                                      Hon. Carl J. Nichols
                                                      United States District Judge
